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                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

   In Re:                                             Case No. 19-52839-mmp

   Artemio Ojeda Rios
    aka Artemio O. Rios
    aka Artemio Rios
                                                      Chapter 13
    aka Art Rios
   Roxanna Rios
    aka Roxy V. Rios

   Debtors.                                           Judge Michael M Parker

                                    CERTIFICATE OF SERVICE

  I certify that on January 8, 2022, a copy of the foregoing Notice of Mortgage Payment Change
  was filed electronically. Notice of this filing will be sent to the following party/parties through
  the Court’s ECF System. Party/Parties may access this filing through the Court’s system:

            Joris Robert Vanhemelrijck, Debtors’ Counsel
            jrv@vanlaws.com

            Mary K Viegelahn, Chapter 13 Trustee
            documents@sach13.com

            Office of the United States Trustee
            ustpregion07.sn.ecf@usdoj.gov

  I further certify that on January 10, 2022, a copy of the foregoing Notice of Mortgage Payment
  Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
  following:

            Artemio Ojeda Rios, Debtor
            9602 Angora Pass
            Helotes, TX 78023
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         Roxanna Rios, Debtor
         9602 Angora Pass
         Helotes, TX 78023

   Dated: January 8, 2022                /s/ D. Anthony Sottile
                                         D. Anthony Sottile
                                         Authorized Agent for Creditor
                                         Sottile & Barile, LLC
                                         394 Wards Corner Road, Suite 180
                                         Loveland, OH 45140
                                         Phone: 513.444.4100
                                         Email: bankruptcy@sottileandbarile.com
